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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION
GERRARD JONES,

        Plaintiff,

v.                                               Case No. 6:23-cv-1738-PGB-DCI

J. TEIXEIRA,

      Defendant.
___________________________

                          Uniform Case Management Report

       The goal of this case management report is to “secure the just, speedy, and
inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
3.02(a)(2), this case management report should be used in all civil cases except those
described in Local Rule 3.02(d). Individual judges may have additional case
management preferences that can be found under each judge’s name on the Court’s
website, flmd.uscourts.gov/judges/all.

1. Date and Attendees

     The parties may conduct the planning conference “in person, by telephone, or by
     comparable means[.]” See Local Rule 3.02(a)(1).

     The parties conducted the planning conference on 9/9/2024. Joshua Tarjan and
     Jessica Schwieterman attended the conference.

2. Deadlines and Dates

     The parties request these deadlines and dates:

     Action or Event                                                          Date

     Deadline for providing mandatory initial disclosures. See Fed. R. Civ.
                                                                              9/23/2024
     P. 26(a)(1).
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    Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19, and 20,
                                                                                    1/21/2025
    or amend the pleadings, see Fed. R. Civ. P. 15(a).*

    Deadline for serving expert disclosures under Rule 26(a)(2),
    including any report required by Rule 26(a)(2)(B).                Plaintiff     5/21/2025
                                                                    Defendant       6/20/2025
                                                                      Rebuttal      7/11/2025
    Deadline for completing discovery and filing any motion to compel
                                                                                    8/11/2025
    discovery. See Fed. R. Civ. P. 37; Middle District Discovery (2021).

    Deadline for moving for class certification, if applicable. See Fed. R.            NA
    Civ. P. 23(c).

    Deadline for filing any dispositive and Daubert motion. See Fed. R. Civ.
                                                                                     9/1/2025
    P. 56. (Must be at least five months before requested trial date.)

    Deadline for participating in mediation. See Local Rules, ch. 4.
    Thomas H Bateman, III
    Messer Caparello P.A.                                                           10/1/2025
    2618 Centennial Place
    Tallahassee, FL 32308
    Tel. (850) 201-5221

    Date of the final pretrial meeting. See Local Rule 3.06(a).                     1/12/2026

    Deadline for filing the joint final pretrial statement, any motion in
    limine, proposed jury instructions, and verdict form. See Local Rule            1/19/2026
    3.06(b). (Must be at least seven days before the final pretrial conference.)

    Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Local
                                                                                    1/26/2026
    Rule 3.06(b).

    Month and year of the trial term.                                              February 2026


   The trial will last approximately 4 days and be

   ☒ jury.
   ☐ non-jury.

      *  Plaintiff through discovery will investigate joining the five correctional
officers alleged in the amended complaint to have participated in throwing Plaintiff
against a wall.



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3. Description of the Action

PLAINTIFF ALLEGES THAT DEFENDANT, A FLORIDA DEPARTMENT OF
CORRECTIONS SERGEANT, VIOLATED HIS FIRST AND EIGHTH AMENDMENT RIGHTS
WHEN DEFENDANT RIPPED UP HIS LEGAL PAPERS , THREATENED AND ATTEMPTED
TO HAVE HIM KILLED, VIOLENTLY POKED HIM IN THE EYE, AND WITH OTHER
OFFICERS THREW HIM INTO A WALL.

THIS IS A 42 U.S.C. §1983, FEDERAL CIVIL RIGHTS VIOLATIONS UNDER THE FIRST
AND EIGHTH AMENDMENTS OF THE UNITED STATES CONSTITUTION, AS APPLIED
TO THE STATES UNDER THE UNITED STATES CONSTITUTION’S FOURTEENTH
AMENDMENT.

4. Disclosure Statement

   ☒ Each party has filed a disclosure statement using the required form.

5. Related Action

   ☒ The parties acknowledge their continuing duty under Local Rule 1.07(c) to
   notify the judge of a related action pending in the Middle District or elsewhere by
   filing a “Notice of a Related Action.” No notice need be filed if there are no related
   actions as defined by the rule.

6. Consent to a Magistrate Judge

   “A United States magistrate judge in the Middle District can exercise the maximum
   authority and perform any duty permitted by the Constitution and other laws of the United
   States.” Local Rule 1.02(a). With the parties’ consent, a district judge can refer any civil
   matter to a magistrate judge for any or all proceedings, including a non-jury or jury trial.
   28 U.S.C. § 636(c).

   The Court asks the parties and counsel to consider the benefits to the parties and the Court
   of consenting to proceed before a magistrate judge. Consent can provide the parties
   certainty and flexibility in scheduling. Consent is voluntary, and a party for any reason
   can decide not to consent and continue before the district judge without adverse
   consequences. See Fed. R. Civ. P. 73(b)(2).

   ☐ The parties do consent and file with this case management report a completed
   Form AO 85 “Notice, Consent, and Reference of a Civil Action to a Magistrate
   Judge,” which is available on the Court’s website under “Forms.”




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   ☒ The parties do not consent.

7. Preliminary Pretrial Conference

   ☒ The parties do not request a preliminary pretrial conference before the Court
   enters a scheduling order.
   ☐ The parties do request a preliminary pretrial conference, and the parties want to
   discuss enter discussion points.


8. Discovery Practice

   The parties should read the Middle District Discovery Handbook, available on the Court’s
   website at flmd.uscourts.gov/civil-discovery-handbook, to understand discovery practice
   in this District.

   ☒ The parties confirm they will comply with their duty to confer with the opposing
   party in a good faith effort to resolve any discovery dispute before filing a motion.
   See Local Rule 3.01(g); Middle District Discovery (2021) at § I.A.2.

9. Discovery Plan

   The parties submit the following discovery plan under Rule 26(f)(2):

   A.   The parties agree to the timing, form, or requirement for disclosures under
        Rule 26(a):

         ☒ Yes.
         ☐ No; instead, the parties agree to these changes: enter changes.

   B.   Discovery may be needed on these subjects:

        Plaintiff:
           1. Plaintiff’s classification file, including grievances related to
               Defendant’s ripping up Plaintiff’s legal papers and physically
               attacking him;
           2. Fixed wing video showing Defendant, other officers and orderlies
               approaching or leaving Defendant’s cell area on August 8 and 9,
               2021 (“Incident Dates”);
           3. Plaintiff’s medical records;
           4. Policies and procedures of the Florida Department of Corrections;
           5. Defendant’s personnel records;


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          6. Personnel photos of officers on duty on August 9, 2021
          7. Duty and work assignment rosters for officers and orderlies on the
             Incident Dates.

       Defendant:
         1. Plaintiff’s classification file, including grievances;
         2. Video with the Facility on the date of the incident;
         3. Plaintiff’s medical records;
         4. Plaintiff's DR records including the hearing records and corrective
            consultations;
         5. Incident Reports relating to the Incident Dates, including but not
            limited to the MINS.

  C.   Discovery should be conducted in phases:

        ☒ No.
        ☐ Yes; describe the suggested phases.

  D. Are there issues about disclosure, discovery, or preservation of
     electronically stored information?

        ☐ No.
        ☒ Yes; The parties agree that any special viewing software necessary for
        video or audio will be provided with the video or audio files. The parties
        agree to request and respond to discovery by email and specifically
        consent to email service in this case provided it is served on all persons
        registered for electronic court filing in this case; documents will be
        provided by email and standard electronic record transfer services to the
        extent possible.

  E.   ☒ The parties have considered privilege and work-product issues,
       including whether to ask the Court to include any agreement in an order
       under Federal Rule of Evidence 502(d).



  F.   The parties stipulate to changes to the limitations on discovery imposed
       under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
       limitations:

        ☒ No.
        ☐ Yes; describe the stipulation.



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10. Request for Special Handling

    ☒ The parties do not request special handling.
    ☐ The parties request special handling. Specifically, describe requested special
    handling.
    ☐ Enter party’s name unilaterally requests special handling. Specifically, describe
    requested special handling.

11. Certification of familiarity with the Local Rules

    ☒ The parties certify that they have read and are familiar with the Court’s Local
    Rules.

12. Signatures

/s/Joshua Tarjan                          /s/ Jessica Schwieterman
Joshua Tarjan                             Jessica Schwieterman
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The Tarjan Law Firm P.A.                  Florida Bar No. 116460
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Attorney for Gerrard Jones, Plaintiff

Date: 9/13/2024                           Date: 9/13/2024




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